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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ANCHOR BAR DISTRIBUTING
COMPANY, LLC.,

Plaintiff,
                                               Case No.:
             v.

THE ANCHOR BAR INC.,

Defendant.
_____________________________________________

             COMPLAINT AND DEMAND FOR JURY TRIAL
                 (INJUNCTIVE RELIEF SOUGHT)

      Plaintiff,    ANCHOR    BAR    DISTRIBUTING       COMPANY,      LLC,

(“Original Anchor Bar”), sues Defendant, THE ANCHOR BAR INC.

(“Defendant”), alleging the following:

                         NATURE OF THE ACTION

      1.     This is a civil action for trademark infringement and unfair

competition arising under the Lanham Trademark Act, 15 U.S.C. 1114,

1125(a) and 1125(d), Florida’s Deceptive and Unfair Trade Practices Act,

Section 501.201, et seq., Florida Statutes, and common law trademark

infringement and unfair competition.

      2.     Plaintiff, Original Anchor Bar is the home of the “Original

Buffalo Wing” and, as a result enjoys widespread fame for popularizing spicy

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deep-fried chicken wings.     More generally, Original Anchor Bar offers

restaurant services and retail sale of food products through its own

restaurants, its franchised restaurants, and online.

      3.    Original Anchor Bar owns valuable rights and goodwill in its

trademarks and service marks, including its federally registered “ANCHOR

BAR” mark, which Original Anchor Bar has used continuously since 1935.

      4.    Despite the fame of Original Anchor Bar, its federally registered

ANCHOR BAR trademarks, and its demand that Defendant cease its

infringing conduct, Defendant continues to use an identical mark to Plaintiff’s

ANCHOR BAR mark in association with the same goods and services as those

provided by Plaintiff.

                                  PARTIES

      5.    Plaintiff, Original Anchor Bar, is a limited liability company

organized and existing under the laws of the State of New York, with its

principal place of business located at 651 Delaware Avenue, Buffalo, NY.


      6.    Defendant, is a Florida corporation organized and existing under

the laws of the State of Florida, with its principal place of business located

at 304 East Davis Blvd., Unit A, Tampa, FL.

                         JURISDICTION AND VENUE

      7.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

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1391(b)(2) because a substantial part of the events giving rise to the claims

asserted in this Complaint occurred in this judicial district and/or a

substantial part of the property that is the subject of the action is situated in

this district.

      8.     The claims of trademark infringement and unfair competition

asserted in this action arise under the provisions of the Lanham Act, 15

U.S.C. § 1501 et seq. This Court has original jurisdiction over these claims

pursuant to 15 U.S.C. § 1121(a) and § 1338(a). This Court further has

supplemental jurisdiction over the Florida state law statutory and common

law claims pursuant to 28 U.S.C. § 1367.

      9.     Pursuant to Section 48.193, Florida Statutes, this Court has

personal jurisdiction over Defendant because Defendant conducts business

within this judicial district and is registered as a corporation in Florida.

      10.    All conditions precedent to the commencement of this action

have been performed, satisfied, waived, excused, or have occurred.

                         FACTUAL BACKGROUND

      10.    Plaintiff, through its predecessors, has been engaged in

providing restaurant services since 1935 when the original “ANCHOR BAR”

restaurant opened in Buffalo, New York.

      11.    After years of operation as an Italian restaurant, in 1964,


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Plaintiff’s then owner created a late-night snack for her son and his friends,

namely, a deep-fried chicken wing flavored with a secret sauce. The chicken

wings were an instant hit and soon people flocked to the to the Anchor Bar

restaurant to experience this new taste sensation. From that evening on, the

deep-fried chicken wings, now known to the world as “Buffalo Wings,”

became a regular part of the menu at the Anchor Bar restaurant.

      12.    The original Anchor Bar restaurant has long been a popular

destination for locals and, due in large part to the popularity of the “Buffalo

Wing”, the restaurant has become known throughout the United States and

beyond, becoming a large draw for tourists and travelers to the Western New

York area.

      13.    Since 1935, and especially after the advent of the “Buffalo Wing,”

Original Anchor Bar’s operations have exponentially expanded, through the

opening of restaurants in other locations in the Western New York

geographic area, and further expansion in the United States and Canada. All

of Original Anchor Bar’s restaurants use its ANCHOR BAR mark, are

branded as ANCHOR BAR restaurants, and are known for their famous

Buffalo Wings.

      14.    Original Anchor Bar has also expanded into the retail and online

sale of chicken wings branded with its ANCHOR BAR mark through

Plaintiff’s website (www.anchorbar.com) and through third party retailers.

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      15.   Since 1999, Original Anchor Bar has also sold its wing sauces

branded with its ANCHOR BAR mark throughout the United States and

globally at grocery stores and other retail outlets, through its website, and

through third-party online sellers,

      16.   Original Anchor     Bar also advertises and sells various

promotional items, such as t-shirts and caps all bearing the ANCHOR BAR

mark and Original Anchor Bar’s famous logos.

      17.   Original Anchor Bar registered its ANCHOR BAR mark on the

Principal Register of the United States Patent and Trademark Office

(“USPTO”) for use in association with restaurant services as U.S. Service

Mark Registration No. 2,662,608, with a date of first use of 1935 and a date

of first use in commerce of 1985.

      18.   Original Anchor Bar also registered its trademarks with the

USPTO for use in association with restaurant services, chicken wings, hot

sauce, mail order retail sales of chicken wings and chicken wing sauces, along

with promotional items (collectively, “Plaintiff’s Marks or the “ANCHOR

BAR Marks”). Copies of the Certificates of Registration for the ANCHOR

BAR Marks listed below are attached to this Complaint as Composite

Exhibit “A”:




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   TRADEMARKS               REG.           REG.           GOODS/
                            NOS.          DATES          SERVICES



                          6,644,336       February    Chicken wing
                                          15, 2022    sauces



                                                         Fresh, frozen
                                                       and refrigerated
                                                        chicken wings
                                                       for consumption
   ANCHOR BAR             6,644,326       February
                                                         on or off the
                                          15, 2022
                                                           premises

                                                        Chicken wing
                                                            sauces
                                                         Fresh, frozen
                                                       and refrigerated
                                                        chicken wings
                                                       for consumption
                          4,442,199       December
                                                         on or off the
                                           3, 2013
                                                           premises

                                                         Restaurant
                                                          services




                          4,428,337       November       Restaurant
                                           5, 2013        services




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                                                        Mail order retail
                                                            services
                                           December        featuring
    ANCHOR BAR             2,666,055
                                           24, 2002      chicken wings
                                                          and chicken
                                                          wing sauces
                                           December       Restaurant
    ANCHOR BAR             2,662,608
                                           17, 2002         services
                                                         Novelty items,
                                           August 27,
    ANCHOR BAR             2,612,603                    namely, t-shirts
                                             2002
                                                            and hats



                                            July 14,
                           2,172,483                       Hot sauce
                                             1998




                                                          Fresh, frozen
                                                        and refrigerated
                                            July 25,     chicken wings
                           1,549,347
                                             1989       for consumption
                                                          on or off the
                                                            premises



     19.   Original Anchor Bar has complied with Section 15 of the Lanham

Act, 15 U.S.C. §§ 1058 and 1065, and its U.S. Trademark Reg. Nos. 1549347,

2172483, 2612603, 2,666,055, 2662608, 4442199, and 4428337 are now

incontestable. Copies of Plaintiff’s Statements of Incontestability are

attached to this Complaint as Composite Exhibit “B”.

     20.   Original Anchor Bar also registered its ANCHOR BAR mark for



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use in association with fresh, frozen and refrigerated chicken wings for

consumption on or off the premises; chicken wing sauces; and restaurant

services as International Reg. No. 1595210 on April 7, 2021, with extension

of protection of the mark into the European Union. A copy of the Certificate

of Registration is attached to this Complaint as Exhibit “C”.

     21.   Original Anchor Bar registered its trademark shown below




for use in association with fresh, frozen and refrigerated chicken wings for

consumption on or off the premises; chicken wing sauces; and restaurant

services as International Reg. No. 1596129 on April 8, 2021, with extension

of protection of the mark into the European Union. A copy of the Certificate

of Registration is attached to this Complaint as Exhibit “D”.

     22.   Original Anchor Bar has utilized its ANCHOR BAR Marks in its

advertising, through newspapers and other print media, as well as internet

and social media promotion, via mediums including but not limited to

Facebook, Instagram, and its website.

     23.   Plaintiff’s ANCHOR BAR Marks have gained nationwide and

global recognition as a result of its iconic Buffalo Wings. The Food Network

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featured Plaintiff’s restaurant and its Buffalo Wings on Bobby Flay’s

“Throwdown! With Bobby Flay” (Season 2, Episode 11), which first aired on

June 14, 2007. In 2018, the television reality show “Bachelorette” traveled

to Buffalo and visited the ANCHOR BAR restaurant to eat Buffalo Wings.

In the same year, the ANCHOR BAR restaurant was featured on CBS’s

“Murphy Brown.” Even Homer Simpson ate wings at an animated version of

Plaintiff’s Anchor Bar in 2019.

      24.    In April 2003, Plaintiff’s Anchor Bar restaurant won the “James

Beard Award” given to restaurants that have timeless appeal and are beloved

for quality food reflecting the history and character of their community. In May

of the same year, Plaintiff’s original Anchor Bar restaurant received the

“Quality International Award” for its sauces from the American Tasting

Institute.

      25.    Original Anchor Bar’s Buffalo Wings have been the subject of

countless articles published in such media as the Boston Globe (2021), USA

Today (2015), Time Magazine (2009), the New York Times (1981), and the

New Yorker Magazine (1980).

      26.    In 2009, Original Anchor Bar entered into a non-exclusive

license agreement under which a restaurant branded with Plaintiff’s

ANCHOR BAR Marks opened at the Buffalo-Niagara International Airport,

where millions of domestic and international travelers a year pass through.

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      27.   In 2012, Original Anchor Bar began offering franchise

opportunities in the United States and Canada for restaurants branded with

its ANCHOR BAR Marks. Currently there are fourteen (14) ANCHOR BAR

franchises located in the United States and Canada, including seven (7) in

New York State, one (1) in Maryland, one (1) in Georgia, three (3) in Texas,

and two (2) in Canada. Plaintiff is actively entering into new franchise

agreements, with at least nine (9) locations scheduled to open in 2022 and

2023, including at least two (2) locations in Florida.

      28.   On or about November 2020, Original Anchor Bar was contacted

by a potential franchisee in the Tampa, Florida area. While speaking with

the potential franchisee, Original Anchor Bar learned for the first time about

Defendant’s restaurant branded as THE ANCHOR BAR.

      29.   On or about December 2021, a different potential franchisee from

the Tampa, Florida area contacted Original Anchor Bar regarding a

franchise agreement. In January 2022, during negotiations for the franchise,

the potential franchisee informed Plaintiff about Defendant’s THE ANCHOR

BAR restaurant. Plaintiff ultimately entered into a franchise agreement to

open a location in the Tampa, Florida greater geographic area.

      30.   During negotiations to enter into a franchise agreement to enter

the Tampa, Florida geographic area, Original Anchor Bar began to seek

information regarding Defendant’s THE ANCHOR BAR restaurant.

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      31.   Defendant is doing business using the tradename and trademark

“THE ANCHOR BAR” (the “Infringing Mark”) in connection with restaurant

services in Tampa, Florida.

      32.   Defendant uses a website, located at www.anchorbartampa.com

(“Defendant’s Website”), the URL of which contains Plaintiff’s ANCHOR BAR

mark, and which prominently features Defendant’s Infringing Mark. Below is

a screenshot of Defendant’s Website:




      33.   Original Anchor Bar and Defendant provide similar and/or

identical goods and services.

      34.   For example, Defendant’s restaurant menu prominently features

chicken wings along with other types of foods similarly provided in Original

Anchor Bar’s ’s restaurant locations as shown below in the comparison of the

menus posted on the websites of Plaintiff and Defendant:




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                  Original Anchor Bar Online Menu




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    Defendant’s On-line Menu




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      35.   In addition to Defendant promoting its Infringing Mark through

its Website, Defendant promotes its Infringing Mark in commerce on the

internet via mediums including but not limited to social media sites such as

Instagram and Facebook, as shown in the screen shots below:




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      36.   Upon information and belief and as shown below, knowing that

Buffalo Wings originated in Original Anchor Bar’s Buffalo, New York

restaurant, Defendant has used hashtags on Instagram directed at the

Buffalo, New York, area and Buffalo’s Buffalo Bills professional football

team, to advertise Defendant’s restaurant and chicken wings:




      37.   Defendant’s Infringing Mark is confusingly and substantially

similar, if not identical, to Plaintiff’s ANCHOR BAR word marks.

      38.   Defendant’s use of its Infringing Mark in interstate commerce is

likely to cause confusion in the marketplace with respect whether

Defendant’s goods and services originate from or are affiliated with or

sponsored by Original Anchor Bar.

      39.   Original Anchor Bar has priority of use in its ANCHOR BAR

Marks because Original Anchor Bar’s first use of its ANCHOR BAR Marks

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in commerce predate Defendant’s alleged first use of Defendant’s Mark by

many decades.

      40.   Defendant’s continued use of its Infringing Mark in commerce is

likely to cause continued confusion, mistake, or deception amongst

consumers as to the origin, sponsorship, or approval of Defendant’s goods

and/or services because of the similarity of Defendant’s Infringing Mark with

Original Anchor Bar’s ANCHOR BAR Marks.

      41.   Upon discovering Defendant’s infringing conduct, Original

Anchor Bar’s counsel sent a cease and desist letter to Defendant on January

19, 2022. A copy of that letter is attached to this Complaint as Exhibit “E”.

      42.   Upon information and belief, despite receiving the cease and

desist letter from Original Anchor Bar, Defendant continued to market, sell,

and otherwise provide its goods and services using its Infringing Marks and,

as of the date of this Complaint, is continuing to do so.

      43.   Upon information and belief, Defendant is knowingly and

willingly continuing its unauthorized use of a confusingly similar tradename

and trademark to Plaintiff’s ANCHOR BAR Marks in order to intentionally

deceive consumers in the marketplace and to trade off the valuable goodwill

of Plaintiff’s Marks and reputation.

      44.   Defendant’s use of its Infringing Mark constitutes at least:

trademark infringement; unfair competition; false designation of the source,

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origin, affiliation, or sponsorship; and deceptive and unfair trade practices.

      45.    Upon information and belief, creating perceived affiliation and

connection with Plaintiff’s Marks and good name is precisely the implication

and the intent, of Defendant’s false designation. Consumers view Defendant’s

purposefully disseminated and clearly confusing misinformation in the

marketplace and are getting, and will continue to get, the false impression that

Defendant’s goods and/or services originate from, are affiliated with, or

sponsored by Original Anchor Bar.

      46.    Upon information and belief, confusion and deception caused by

Defendant’s use of its Infringing Mark is further enhanced by the fact that

Defendant offers the same type of goods and services as Plaintiff, namely,

restaurant services which feature chicken wings. Thus, consumers are more

likely to, and will in fact, believe the false designation of origin put forth by

Defendant.

      47.    Original Anchor Bar has suffered and continues to suffer

damages and irreparable harm from Defendant’s actions and bad faith

conduct as customers have been, and continue to be, misled into thinking

that Defendant’s goods and services actually originate under and are

associated with Plaintiff’s Marks.

      48.    Original Anchor Bar has no adequate remedy at law to prevent the

injuries caused by Defendant’s continuing illegal actions.

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      49.   Given Defendant’s clear violations of Original Anchor Bar’s rights

protected under both federal and Florida law, Original Anchor Bar will likely

prevail on the merits of this action.

      50.   The balance of the hardships and public interest require that

Defendant and those acting in concert with Defendant immediately and

permanently cease their wrongful conduct.

      51.   Original Anchor Bar has retained the undersigned law firms to

vindicate its rights against Defendant and is obligated to pay its attorneys

reasonable attorneys’ fees for their services.

                     COUNT I
 TRADEMARK INFRINGEMENT (15 U.S.C. §§ 1114, 1116, and 1117)

      52.   Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.

      53.   This is an action for infringement of federally registered

trademarks seeking preliminary and permanent injunctive relief under 15

U.S.C. §§ 1114 and 1116, an award of Defendants’ profits plus Plaintiff’s

damages, costs, and attorneys’ fees under 15 U.S.C. §§1114 and 1117.

      54.   Defendant has, by virtue of its above-described acts, infringed

upon Original Anchor Bar’s rights in its federally registered ANCHOR BAR

Marks in violation of 15 U.S.C. § 1114.

      55.   Upon information and belief, Defendant’s above-described acts of


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infringement have been committed, and are continuing to be committed,

willfully and with the knowledge that use of Defendant’s Infringing Mark is

causing consumer confusion, mistake, or deception.

      56.   As a result of the Defendant’s above-described intentional and

deliberate infringement of Plaintiff’s Marks, this is an exceptional case and

Original Anchor Bar is entitled to preliminary and permanent injunctions

under 15 U.S.C. §1116, an award of Defendant’s profits, up to three (3) times

any damages sustained by Original Anchor Bar, the costs of this action, and

Original Anchor Bar’s reasonable attorneys’ fees under 15 U.S.C. § 1117.

      WHEREFORE, Original Anchor Bar requests this Court to enter

judgment in favor of Original Anchor Bar and against Defendant and:

      A.    Preliminarily and permanently enjoin Defendant and all of its

agents, officers, employees, representatives, successors, assigns, attorneys,

and all other persons acting for, with, by, through, or under authority from

Defendant, or in concert or participation with Defendant, from engaging in any

of the conduct constituting infringement of any of Original Anchor Bar’s

ANCHOR BAR Marks;

      B.    Order Defendant to account for and award to Original Anchor Bar

any and all profits derived by Defendant in connection with Defendant’s

infringement of Plaintiff’s Marks;



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      C.    Award to Original Anchor Bar and against Defendant all damages

caused by Defendant’s infringement of Plaintiff’s Marks;

      D.    Treble the damages to be awarded to Original Anchor Bar;

      E.    Order Defendant to pay Original Anchor Bar’s costs and

reasonable attorneys’ fees incurred in connection with this action;

      F.    Award to Original Anchor Bar and against Defendant pre-

judgment and post-judgment interest on the damages and profits awarded to

Original Anchor Bar; and

      G.    Grant to Original Anchor Bar all such other and further relief as

the Court may deem appropriate and just.

                        COUNT II
          UNFAIR COMPETITION UNDER 15 U.S.C. § 1125
      (FALSE DESIGNATION OF ORIGIN, FALSE ADVERTISING)

      57.   Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.

      58.   This is an action for false designation of origin, description or

representation arising under 15 U.S.C. § 1125(a)(1)(A), seeking preliminary

and permanent injunctive relief, damages, and attorneys’ fees.

      59.   Original Anchor Bar owns Plaintiff’s Marks for use in association

with restaurant services, the sale of chicken wings both on and off the

premises, and the sale of chicken wing sauces.

      60.   Plaintiff’s Marks have been advertised and used in commerce

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throughout the United States and globally.

      61.   Plaintiff’s Marks have become, through public acceptance and

recognition, an asset of value as a symbol of Original Anchor Bar’s quality

products and services and its goodwill.

      62.   Defendant has used its Infringing Mark in commerce without the

consent of Original Anchor Bar.

      63.   Defendant’s deliberate unauthorized use of its Infringing Mark

in commerce is likely to cause confusion, because, among other things: (a)

Defendant’s Infringing Mark is likely to confuse the public as to the source

or origin of Defendant’s goods and services; (b) Defendant’s Infringing Mark

is likely to confuse the public because Defendant is marketing and selling

and offering the same types of goods and services as Original Anchor Bar and

suggests some affiliation between Defendant and Original Anchor Bar where

none exists; (c) Defendant and Original Anchor Bar market to the same

customers in the same geographic area; and (d) Defendant’s goods and

services are sold or otherwise offered in the same and similar channels of

trade as those goods and services sold or otherwise offered by Original

Anchor Bar.

      64.   Defendant’s unauthorized adoption and commercial use of its

Infringing Mark in connection with its goods and services is likely to cause

confusion as to the source or origin of Defendant’s goods and services and as

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to Defendant’s affiliation, connection or association with Original Anchor

Bar.

       65.   Upon information and belief, Defendant’s above-described acts of

have been committed, and are continuing to be committed, willfully with the

knowledge and intent that its use of the Infringing Mark is likely to cause

confusion, or to cause mistake, or to deceive.

       66.   Defendant’s acts and conduct alleged above constitute unfair

competition, false designation of origin, and false advertising in violation of

15 U.S.C. § 1125(a)(1)(A).

       67.   As a result of the Defendant’s above-described intentional and

deliberate acts, this is an exceptional case and Original Anchor Bar is entitled

to preliminary and permanent injunctions under 15 U.S.C. §1116, an award of

Defendant’s profits, up to three (3) times any damages sustained by Original

Anchor Bar, the costs of this action, and Original Anchor Bar’s reasonable

attorneys’ fees under 15 U.S.C. § 1117.

       WHEREFORE, Original Anchor Bar requests this Court to enter

judgment in favor of Original Anchor Bar and against Defendant and:

       A.    Preliminarily and permanently enjoin Defendant and all of its

agents, officers, employees, representatives, successors, assigns, attorneys,

and all other persons acting for, with, by, through, or under authority from

Defendant, or in concert or participation with Defendant, from engaging in any

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of the conduct constituting unfair competition, false designation of origin, or

false advertising in violation of 15 U.S.C. § 1125(a)(1)(A);

      B.    Order Defendant to account for and award to Original Anchor Bar

any and all profits derived by Defendant in connection with Defendant’s unfair

competition, false designation of origin, or false advertising in violation of 15

U.S.C. § 1125(a)(1)(A);

      C.    Award to Original Anchor Bar and against Defendant all damages

caused by Defendant’s unfair competition, false designation of origin, or false

advertising in violation of 15 U.S.C. § 1125(a)(1)(A);

      D.    Treble the damages to be awarded to Original Anchor Bar;

      E.    Order Defendant to pay Original Anchor Bar’s costs and

reasonable attorneys’ fees incurred in connection with this action;

      F.    Award to Original Anchor Bar and against Defendant pre-

judgment and post-judgment interest on the damages and profits awarded to

Original Anchor Bar; and

      G.    Grant to Original Anchor Bar all such other and further relief as

the Court may deem appropriate and just.

                                  COUNT III
     FEDERAL UNFAIR COMPETITION UNDER § 1125(a)(1)(B)

      68.   Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.


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      69.   This is an action for unfair competition under 15 U.S.C.

§1125(a)(1)(B), seeking preliminary and permanent injunctive relief,

damages, and attorneys’ fees.

      70.   Defendant has, by virtue of its above-described acts, infringed

upon Original Anchor Bar’s federally registered and common law rights in

its ANCHOR BAR Marks and are competing unfairly with Original Anchor

Bar by using Plaintiff’s Marks in association with Defendant’s goods and

services in violation of 15 U.S.C. § 1125(a)(1)(B).

      71.   Upon information and belief, Defendant’s above-described acts of

infringement and unfair competition have been committed, and are

continuing to be committed, willfully with the knowledge that its Infringing

Mark is intended to be used to cause confusion, or to cause mistake, or to

deceive.

      72.   As a result of the Defendant’s above-described intentional and

deliberate acts, this is an exceptional case and Original Anchor Bar is

entitled to preliminary and permanent injunctions under 15 U.S.C. §1116,

an award of Defendant’s profits, up to three (3) times any damages sustained

by Original Anchor Bar, the costs of this action, and Original Anchor Bar’s

reasonable attorneys’ fees under 15 U.S.C. § 1117.

      WHEREFORE, Original Anchor Bar requests this Court to enter

judgment in favor of Original Anchor Bar and against Defendant and:

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      A.    Preliminarily and permanently enjoin Defendant and all of its

agents, officers, employees, representatives, successors, assigns, attorneys,

and all other persons acting for, with, by, through, or under authority from

Defendant, or in concert or participation with Defendant, from unfairly

competing with Original Anchor Bar by using Plaintiff’s Marks in association

with Defendant’s goods and services in violation of 15 U.S.C. § 1125(a)(1)(B);

      B.    Order Defendant to account for and award to Original Anchor Bar

any and all profits derived by Defendant in connection with Defendant unfairly

competing with Original Anchor Bar by using Plaintiff’s Marks in association

with Defendant’s goods and services in violation of 15 U.S.C. §1125(a)(1)(B);

      C.    Award to Original Anchor Bar and against Defendant all damages

caused by Defendant unfairly competing with Original Anchor Bar by using

Plaintiff’s Marks in association with Defendant’s goods and services in

violation of 15 U.S.C. § 1125(a)(1)(B);

      D.    Treble the damages to be awarded to Original Anchor Bar;

      E.    Order Defendant to pay Original Anchor Bar’s costs and

reasonable attorneys’ fees incurred in connection with this action;

      F.    Award to Original Anchor Bar and against Defendant pre-

judgment and post-judgment interest on the damages and profits awarded to

Original Anchor Bar; and



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      G.    Grant to Original Anchor Bar all such other and further relief as

the Court may deem appropriate and just.

                         COUNT IV
        VIOLATIONS OF FLORIDA DECEPTIVE AND UNFAIR
                   TRADE PRACTICES ACT
      73.   Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.

      74.   Defendant’s acts, as described above, were performed by

Defendant in the course of trade or commerce.

      75.   Defendant’s acts, as described above, constitute unfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts

or practices in violation of Florida’s Deceptive and Unfair Trade Practices

Act, Section 501.201, et seq., Florida Statutes.

      76.   Defendant’s acts described above are likely to deceive consumers

into thinking that there is an affiliation between Original Anchor Bar and

Defendant and/or that Original Anchor Bar endorses Defendant’s goods,

services, and/or business practices.

      77.   Defendant’s unfair methods of competition, unconscionable acts

or practices, and unfair or deceptive acts or practices have caused, and will

continue to cause, Original Anchor Bar to suffer irreparable harm and

damages.


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      78.        Defendant’s unfair methods of competition, unconscionable acts

or practices, and unfair or deceptive acts or practices entitle Original Anchor

Bar to actual damages, plus attorney’s fees and costs, pursuant to Sections

501.2105 and 501.211, Florida Statutes.

     WHEREFORE, Original Anchor Bar requests this Court to enter

judgment in favor of Original Anchor Bar and against Defendant and:

      A.         Preliminarily and permanently enjoin Defendant and all of its

agents, officers, employees, representatives, successors, assigns, attorneys,

and all other persons acting for, with, by, through, or under authority from

Defendant, or in concert or participation with Defendant, from engaging in

unfair methods of competition, unconscionable acts or practices, and unfair or

deceptive acts or practices;

      B.         Order Defendant to account for and award to Original Anchor Bar

any and all profits derived by Defendant in connection with Defendant

engaging in unfair methods of competition, unconscionable acts or practices,

and unfair or deceptive acts or practices;

      C.         Award to Original Anchor Bar and against Defendant all damages

caused      by    Defendant    engaging   in   unfair   methods   of   competition,

unconscionable acts or practices, and unfair or deceptive acts or practices;

      D.         Order Defendant to pay Original Anchor Bar’s costs and

reasonable attorneys’ fees incurred in connection with this action;

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      E.    Award to Original Anchor Bar and against Defendant pre-

judgment and post-judgment interest on the damages awarded to Original

Anchor Bar; and

      G.    Grant to Original Anchor Bar all such other and further relief as

the Court may deem appropriate and just.

                                    COUNT V
       FLORIDA COMMON LAW TRADEMARK INFRINGEMENT

      79.   Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.

      80.   Original Anchor Bar registered Plaintiff’s Marks, which are

distinctive marks and serve as an exclusive source indicator for Original

Anchor Bar’s high quality restaurant services and well-known Buffalo

Wings.

      81.   Defendant is not a licensee or otherwise authorized to use

Plaintiff’s Marks and has no right to hold itself out as the source of Plaintiff’s

Marks.

      82.   Defendant’s unauthorized use of Plaintiff’s Marks, in commerce,

in association with the promotion and sale of restaurant services featuring

chicken wings, is likely to cause confusion among consumers as to the source

of the goods and services offered by Defendant.

      83.   Upon information and belief, Defendant is engaging in the

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conduct described above willfully and with full knowledge and awareness of

Plaintiff’s prior and continuing trademark rights, and with the purpose and

intent of trading off the goodwill in Plaintiff’s Marks and confusing the

relevant consuming public into mistakenly believing that Defendant is the

source of Original Anchor Bar’s goods and/or services or that Defendant’s

goods and services are otherwise affiliated with, sponsored by, authorized by,

or in association with Original Anchor Bar.

      84.   Defendant’s    actions   constitute   common    law    trademark

infringement.

      WHEREFORE, Original Anchor Bar requests this Court to enter

judgment in favor of Original Anchor Bar and against Defendant and:

      A.    Preliminarily and permanently enjoin Defendant and all of its

agents, officers, employees, representatives, successors, assigns, attorneys,

and all other persons acting for, with, by, through, or under authority from

Defendant, or in concert or participation with Defendant, from infringing

Plaintiff’s Marks;

      B.    Award to Original Anchor Bar and against Defendant all damages

caused by Defendant infringing Plaintiff’s Marks;

      D.    Award to Original Anchor Bar and against Defendant pre-

judgment and post-judgment interest on the damages awarded to Original

Anchor Bar; and

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      E.     Grant to Original Anchor Bar all such other and further relief as

the Court may deem appropriate and just.

                          COUNT VI
            FLORIDA COMMON LAW UNFAIR COMPETITION

      85.    Original Anchor Bar repeats and incorporates by reference the

allegations in paragraphs 1 through 51 above as if fully set forth herein.

      86.    This is an action against Defendant based on its promotion,

advertisement, sale and/or offering for sale of services using a mark that is

virtually identical to Plaintiff’s Marks in violation of Florida’s common law

of unfair competition.

      87.    Defendant is promoting and otherwise advertising, selling,

offering for sale and providing goods and services using Plaintiff’s Marks or

a mark confusingly similar to Plaintiff’s Marks.

      88.    Defendant is also infringing Plaintiff’s Marks to unfairly compete

with Original Anchor Bar.

      89.    Defendant’s wrongful actions described above are likely to cause

and actually are causing confusion, mistake, and deception to the general

consuming public as to the origin and quality of Defendant’s goods and

services using Plaintiff’s Marks.

      90.    Defendant’s actions described above constitute unfair competition

in violation of Florida’s common law.

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                         JURY TRIAL DEMAND

      Original Anchor Bar respectfully demands a trial by jury on all claims

and issues so triable.

  DATED: June 6, 2022        Respectfully submitted,

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